        Case 8:07-cr-00086-JSM-TGW Document 86 Filed 08/24/07 Page 1 of 6 PageID 323
A 0 2458 (Rev 06/05) Sheet 1 - Judgment in a Crim~nalCase


                              UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRTMINAL CASE
                                                               CASE NUMBER: 8:07-cr-86-T-30TGW
                                                               USM hWMBER: 49334-018
VS.


SERGIO VALENCIA-SOBER4NES
                                                               Defendant's Attorney: Davld Secular, pda.

THE DEFEhBANT:

-
X pleaded gullty to count(s) ONE and FOUR of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found g d t y on count(s) after a plea of not guilty.

TITLE & SECTION                    NATURE OF OFFENSE                             OFFENSE ENDED                     COUNT
                                    Conspiracy to Distribute and to Possess     January 29,2007                      One
                                    wlth Intent to Distribute 500 G~alnsor more
                                    of Cocaine

18 U.S.C. $924(c)(l)(A)(ii)         Use of a FirearmDuring a Drug                January 29,2007                     Four
                                    Trafficking Crime


       The defendait IS sentenced as provlded m pages 2 through 6 ofth~s
                                                                       judgment The sentence 1s nnposed pursuant to the Sentenc~ng
Reform Act of 1984.

- The defendant has been found not guilty on cotmt(s)
-
X Count(s) TWO, THREE and FIVE of the Indictment are dismissed on the motion of the United States.

IT IS FURTFIER ORDERED that the defendant must notify the United States Attorney for this district ulthin 30 days of any change of
name, residence, or mailing address until all fmes, restitution, costs: and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in econonuc
circumstances.


                                                                                 Date of Imposlbon of Sentence: August 23,2007




                                                                                  i a h 8.
                                                                                   .-
                                                                                 JA&S      S. MOODY. JR.



                                                                                                   23
                                                                                 DATE A u g u s t , 2007
         Case 8:07-cr-00086-JSM-TGW Document 86 Filed 08/24/07 Page 2 of 6 PageID 324
4 0 245B (Re!? 06305) Sheet 2. - Imprisonnient (Judg~ncntin a Criminal Case)
Defendant:           SERGlO \:ALESCIA-SOBERANES                                                                Judgment - Page 2of 6
Case KO.:            8:07-cr-86-T-30TGW




        After considering tllc athvisorj.sentencillg guidelines and all of the factors identified in Title 18 1;S.C'.$5
3553(a)(l)-(71, the court finds that the sc~itenccimposed is sufficie~it,but not greater than necessary, to comply with
the statutory purposes of sentencing.


        T h e clefenclant is hel-cby conirnittctl to the custody of the United States Boreal1 ofl'risons to be irllprisonetl for
a total term of TI-URTY-SEVEN (37) RIONTI-IS as to Count One ol' t h c lntlict~rieritmid TWENTY-FOI'II ( 2 1 )
MONTHS as to Count F o r ~ of    r the I~idictnlentto r11n c o n s ~ c u t i v ~ to
                                                                                 I y tlic sente~lcei~nposedin Count 011~.




X The court makes the following recommendations to the Bureau of Prisons: 'l'he clefendant shall be placed at FCI Fort Dix (NJ).
-
The defendant shall participate in the 500 intensive drug treatment program whilc incarcerated.



X The dcferdmt I S rernandcd to tho custod~of the L n~tedStates Marshal.
-
- -T'hc defendlnt shal: surrenclcr to the Unitcd Stares hlarshal for this district.

          - at - ;~.ni.ip.ni.on   -.
              as notificd by the United Statcs M;~rsIial.

- The defendant shall surrender for scsvicc of sentence at the institution designated by the Bure;ru of Prisons.

           - before 3 p.m. on -.
           - as notitied by the Cnited States Marshal.
           - 3s notitic,;l oy the Probation or Pretrial Sen'ices Officc




           I have esecuted this judgment 3s follows:




           Defendant delivered on                                              to
- at                                                                      . with a certified copy ofthis judgment.




                                                                                            Deputy United States Marshal
         Case 8:07-cr-00086-JSM-TGW Document 86 Filed 08/24/07 Page 3 of 6 PageID 325
.\O 335B (Re\. O6,W 1 Shtet 3 - Supcnl~scdRclcasc (Judpnunt in 3 Crinlinal Casc)

Defendant:           SERGIO V.ALENCI.4-SOBERASES
Case No.:            8:07-cr-S6-T-jOTG W
                                                            SUPERVISED RELEASE

            U p o n release f r o m inlprisonrnent, t h e clefendant shall be o n supervised release for a t e r m of SIXTY (60) MOIC'THS as t o
C o u n t s One and Four of the Indictment, all s u c h t e r m s t o r u n concurrently.

         T h e dcfcndmt ~ m s report
                               t     to the pl-obatioll oftico in the district to wli~cllthc d c k n d a n t is relcase~l\c.rthrn 72 hours of rclc-asc ti o m
thc custody o f the Bureau of Prisons.

'The defendant shall not coinrnit another federal. state, or local crime. T h e defendant shall not unlaufully possess a controlled substance.
                                                                                                                        t o n e drug test ivithin 15 days
                                                      i l o f a controlled substance. T h e defendant shall s ~ i b n i to
T h e defendant shall refrain from any ~ ~ n l a w f iuse
o f release fi-om imprisonment and at least two periodic drug tests thereafter, as determined by the coust.

           The defelldant ch:111 1101 possess a f i r e a m , destructive device. or any othes tl~ingerousweapon.

          The defendant shall cooperate in the collection of DNA as directed b] the prolxition officer.

            If this judgment i n ~ p o s e sa fine o r restitution it is a condition o f super\-ised release tliat the defendant pay in accordance with the
            Schedule o f Payments sheet o f this judgment.

           The defendant must comply ivith thc standard conditions tllat have been adopted by this court as well as with an). addittonal
           conditions on thc attached page.

                                              ST.iYIlARD CONDTTIOKS OF SI JPERVISIOS
            the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shal rcporl to the probation otticer and shall submit a truthful and complctc \?~irtcnreport n'ithin the first five days of cnch
           month;

            the defendant shal I answer tritthfull~all inquiries by the probation ofticer and iollow ~ l i cinst~i~ctions
                                                                                                                       or'thc psobntion officer.

            the dcfcndnn~s l d I support his or her dcpendcnts and meet othcr family rcsponsibilitics:

            the defendant shal I \\101.liseguliirly at a I~wfiiloccupation, unlcss excused b!. the probation olTiccr for schooling, training. or other
            acceptable reasons;

            the defendant shall notiFy the probation officer at least ten days prior to any changc in residence or employnient;

            the dct'endant shall ~cfrdinfrom excessive use of alcohol and shall not purch~so,pojscss, use, d ~ s t ~ ~ b uort cadm~nisrer
                                                                                                                                .       dn! conrrollcd
            s u b s t m c ~or paapliernalla ~clatcdto J K controlled
                                                           ~         substances. except JS ptescr~l~cdb! a p l i p c : ~ n ,

            the dcfcndmi shall not frequent places whcrc controlled substances are illc~allysold, i~scd.distributed. or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate \s:ith any person con1:ictcd of 3
            felony, unless granted permission to do so by the probation officer;

            the dcfendant shall pennit a probation offjccr to visit him or her at any time at home or elscwht.re and shall pcrmit confiscarion of any
            contraband obscrved in plain \ficw of the probation officer;



            the dcfcndant shall not enter ~ n t uan!, agrce~nentto act :IS an informer or a special a p t of a la\\: cnfosccmcnt q n c without the
            permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may hu occasioned by the dcfcndant's criminal record
           or personal history or characteristics and shall pcrniit the probation officer to make such notifications and to confii-rn the dct'cndant's
           conipliance with such notification rcquircmcnr.
       Case 8:07-cr-00086-JSM-TGW Document 86 Filed 08/24/07 Page 4 of 6 PageID 326
A 0 245B (Rcv. 06/05) Sheel 3C - Supcr-vised Relensc (Judgment in a Criminal Case)

Defendant:         SERGlO V.AL.ENCIA-SOBEK;\N ES
Case No.:          8:(V-:1--86-T-.3OTGW

                                         SPECIAL CONDITlONS OF SUPER\'ISION

         The defendant shall also comply with the following additional conditions of s~ipervisedrelease:

X
-        The defendant shall participate in a substa~iceabuse program (outpatient and/or inpatient) and follow te probation officer's
         instnlctions regarding the inlplemzntation of this court direct~ve.Further, the defendant shall be rcquired to conrributr to the
         costs of senices k)r such treatment not to esceud an amounl dete~minedreasonable by the Probation Officer's Sliding Scale Sor-
         Sulstancc Abuse Treatment Senriccs. Dunng and upon completion of this progr-am. the defendant is di~cstzclto s~lbnrltlo
         I-andomdl ug resting.

-
X        Should the dekndant be deported. hekshe shall not be allowed to re-enter the United States without the express pennissiun of
         the appropriate govenmental authority.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

--
S        The ~nal~d~itoi-y dnlg testing pro\*isions jllall applj. pursuant to the Violent ( :rinle ('onh-01 Act. The Court :ruthorires rnndom
         dri:g testing 11ot 10 csceed 104 tests pcr year.
       Case 8:07-cr-00086-JSM-TGW Document 86 Filed 08/24/07 Page 5 of 6 PageID 327
A 0 245B (Rev 06'05) Shcct 5 - Criminul Monetary Penalties (Judgment in a C'r~niinal Casc)

Defendant:          SERCIO V.4LESCI.A-SOBERASES                                                           Judgment - Page Lof 6
Case No.:           8:07-cr-86-1'-30TGW

                                            CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties mder the schedule of payments on Sheet 6.
                             Assessment                             Fine                         Total Restitution

          Totals:            S200.00


-         Ti72 detel-mination of restitution is deferred until        .       An At~~cr~dctl
                                                                                        .Jirdgl~~wt                   ( A 0 245C) \i:111
                                                                                                 i r ~tr Criulitld CC~SC
          be e n t e d after such cletei-mination.
-         The defendant nli~stmake restitution (incl~ldingcormnunity rsstit~ition)to the following payees in the amount listed
          below.
          If the defendant males a partial payment. each payee shall receive an appsosi~natelyproportioned payment. uilless
          specified otherwise in the priority order or percentage pa nent colunm below. Howeiw. pursuant to 18 U.S.C. 8
                                                                          S
          1664(i). all non-federal victinls illust be paid before the nitsd States.


Name of Pavee                                    Total Loss*                  Restitution Ordered                   Priority or Percentage




                             Totals:                                          S

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant must ay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in fill1
          before the fi Aeenth d)ay after the dale ofthe judgment. pursuant to i 8 U.S.C. 361 I ( * ) . All of the payment options 011 Sheet
          6 nuv be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 36 12(g).

 -        The court deternlined that the del'endant does not llave the ability to pay interest and it is ordered that:

         -          the interest requirement is waived for the - fule - restitution.
         -          the interest requirenlent for the - h e - restitution is nlodilied as follows:


'* I ~ i ~ ~ l i for
                 n g the
                     s total ~rncruntof losses arc required ~ ~ n Chapters
                                                                  de~      109A. 1 10. 1 1 OA, and 1 13.4 of Title 18 for the offenses conimi~teil
on or after Septenlber 12, 1994, but before April 23. 1996.
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.40 245B (Re\. 06/05)Shcct 6 - Schedule of I'ayments (Judgment In a Criminal Cusc)

Dcfc~id~nt:         S1:RGIO \:A LEUCIA-SOBERANES                                                        Judgment - Page G of(,
Case No.:           8:07-cr-Eb-T-30TG\+'



                                                        SCHEDULE OF PAYXIEKTS



Having assessed thc defendant's ability to pa?.. payment of the total criminal inonctary penalties are due as follows:

,4.       X         Lump sum payment of $ 200.00 due immediately. balance due
                               -not later than                     . or
                               - in accordance         -    C, - D, - E or - F below: or
B.       -          P:l)mcnt LO begin ilninediutely (may be combined with -C', _ D.or -F below): or
C.        -         Payment in equal                  (e.g.. weekly. monthly, quarterly) installments oSS            over a perlod
                    of         ( e g . months or years), to commence             days ( e g . 30 or 60 days) after the date of this
                    judgment; or

          -         Paymcnt in equal                    (e.g., weekly, monthly, quarterly) instrrllments of $           over a pesiod of
                                . (e.g., ~ n o n t l ~
                                                     ors years) to commence                     (e.g. 30 or 60 clays) after release i'som
                    in~psisonmcntto a term of supervision: or
E.        -         P a ~ m e ndusing
                               t      the term of supervised release will commence within               (e.g., 30 or 60 days)
                    after release from imprison~nent.The court will set the payment plan based on an assessment of the
                    defendant's ability to pay at that time. or
F.        -         Spccial instmctions regal-ding the payment of criminal moneta~ypenalties:




Unless the court has esnresslv ordered otherwise, if this judgment imposes imp-isonment, payment o f criminal monetary
penal ties is due during ;n~pri~onment.All criminal monetary penalties. exccpt those pa>-mentsmade through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall secci\re credit for all payments previously made toward any criminal monet:u-y penalties imposed.

-         Joint and Sew-a1
        Defendant and Co-Defendant Names and Case Numbers (including defendant ~ ~ u n ~ b eTotal
                                                                                             r ) , Amount, Joint 2nd
Several Amount, and corresponding payee: if appropriate:


          The defendant shdl pay the cost of prosecution.
          The clefendant shall pay the following court cost(s):
X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States inmediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the derendant or the defendant's
nol-ninees, specifically, a Smith and Wesson 9mnl semi-automatic pistol, inoclel 459. serial number A88 1725 and other
anllnunition seized at the time of defendant's arrest.
I'cyr?ic=nts slic.11 be applied ir. the follo\+,ingorder: (1 ) assessment, ( 2 ) rustiturion principal, ( - 3 ) restitution intcrcsr. (1)fine principal, ( 5 )
fine lntsrcst. (6) con~niunityrestitution. (7) penalties, a n d ( S ) costs, including cost of prosecution and court costs.
